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IN THE UNITED STATES DISTRICT COURT
FOR NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ELAINA TURNER and ULYSSES )
GREEN, )
Plaintiffs, §
vs. § No.: 15CV6741
CITY OF CHICAGO, ET AL., §
Defendants. §

DEFENDANT CHICAGO POLICE OFFICER KELLY’S ANSWERS TO PLAINTIFF
ELAINA TURNER’S FIRST SET OF INTERROGATORIES

Now comes Defendant, Chicago Police Officer Patrick Kelly, by and through his attorneys,
BORKAN & SCAHILL, LTD., and in for his answers to Plaintiff, Elaina Turner’s First Set of
Interrogatories, states as folloWs:

l. Please state YOUR full name, badge or identification number, rank or title, date of birth, and
height and Weight, along With such information for all officers or employees of the City of Chicago
Who participated in the arrest of Plaintiff on August 2, 2013.

ANSWER: Defendant Offlcer objects to Interrogatory no. l as vague and ambiguous as to Who
“participated in the arrest of Plaintiff,” as it is vague and ambiguous as to Which
“Plaintiff” is being referred to in this Interrogatory. Defendant Officer further objects
to this Interrogatory insofar as it seeks information that is outside the scope of this
Defendant’s knowledge Subject to and Without Waiving said objections, the
following individuals may have information regarding the arrest of Plaintiff Turner:

Offlcer Jeffrey Weber, Star no. 13854, DOB 12/23/1975, 5'7", l701bs;

Officer Patrick Kelly, Star no. 19397, DOB 12/29/198(), 6', 2051bs.

Furthermore, see individuals listed or referred to in Plaintiffs’ and Defendants’ 26(a)
Disclosures, individuals listed or referred to in documents previously produced by

Defendants, and individuals listed or referred to in documents produced by Plaintiffs.
Investigation continues.

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2. Please identify by name, address, and badge number all persons that YOU contend have
knowledge of facts that relate to any of the claims or defenses in this action. If you answer this
Interrogatory by incorporating Documents, please indicate whether there are any additional persons
with knowledge responsive to this Interrogatory who are NOT listed in the documents to which you
refer.

ANSWER: Defendant Officer objects to Interrogatory no. 2 as vague and ambiguous as
to“persons” having knowledge or facts that relate to the claims and defenses in this
action. lt is unclear whether “persons” refers to employees of the Chicago Police
Department or any and all “persons” having knowledge of facts or claims that relate
to the claims and defenses in this action. Defendant Officer further objects to this
Interrogatory insofar as it seeks information that is outside the scope of this
Defendant’s knowledge. Subj ect to and without waiving said obj ections, see answer
to Interrogatory no. l above, individuals listed or referred to in Plaintiffs’ and
Defendants’ 26(a) Disclosures, individuals listed or referred to in documents
previously produced by Defendants, and individuals listed or referred to in
documents produced by Plaintiffs. Investigation continues.

3. For each person with knowledge responsive to the previous lnterrogatory, give a brief
summary of the facts known by each such person that relate to the claims or defenses in this action,
including all categories of facts about which you contend the Person may be competent to testify at
trial. If you answer this Interrogatory by incorporating Documents, please indicate whether there are
any additional persons with knowledge responsive to this Interrogatory who are NOT listed in the
documents to which you refer.

ANSWER: Defendant Officer objects to Interrogatory no. 3 insofar as it seeks information that
is outside the scope of this Defendant’s knowledge. Subject to and without waiving
said obj ections, see answer to Interrogatory no. l above, individuals listed or referred
to in Plaintiffs’ and Defendants’ 26(a) Disclosures, individuals listed or referred to
in documents previously produced by Defendants, and individuals listed or referred
to in documents produced by Plaintiffs. lnvestigation continues.

4. Please list each and every lawsuit for which YOU have been named a defendant that charged
you, individually or in your official capacity as a police officer, with misconduct of any kind? For
each such federal or state lawsuit please state: (a) court caption, (b) court for which it was filed, (c)
the outcome of the case; and (d) a brief summary of the allegations against YOU.

ANSWER: Defendant Officer objects to Interrogatory no. 4 as overly broad, unduly burdensome
and as not reasonably calculated to lead to the discovery of admissible evidence.
Subject to and without waiving said objections:

(a) Martinez v. Cily of Chicago, et al., 09 CV 05 93 8; (b) United States District Court,
Northern District, lllinois; (c) Claims dismissed pursuant to stipulation of dismissal;
(d) Allegations of false arrest, excessive force, illegal search and seizure, conspiracy,

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failure to intervene, and due process violations, with pendant state law claims of
battery, false arrest, intentional infliction of emotional distress, and malicious
prosecution.

(a) Rz'os v. City of Chz'cago, et al., 08 C 4272; (b) United States District Court,
Northern District, lllinois; (c)Claims dismissed pursuant to settlement; (d)
Allegations of false arrest, excessive force, and failure to intervene, with pendant
state law claims of battery, unlawful detention, malicious prosecution, and intentional
infliction of emotional distress.

(a) LaPorta v. City ofChicago, et al. , 10 L l 1901 ; (b) Circuit Court of Cook County;
(c)Claims dismissed; (d) lnvestigation continues.

lnvestigation continues.

5. ln the past ten (lO) years immediately prior to the lNClDENT, has a complaint ever been
filed against YOU by any individual alleging that YOU abuse your authority, engaged in excessive
force against them, falsely arrest them, failed to provide medical treatment, violated their civil rights,
or any other type of misconduct lf answer is in the affirmative, provide for each such complaint:

(a) What agency reviewed or investigated the complaint;
(b) Whether the agency ever made YOU make a oral statement regarding the allegation;
(c) Whether the complaint involved an allegation against a woman;
(d) The outcome of each complaint and whether discipline was recommended or given;
(e) The identity of each complainant
ANSWER: Defendant Officer objects to Interrogatory no. 5 as overly broad, unduly burdensome,
and as not reasonably calculated to lead to the discovery of admissible evidence.
Furthermore, Interrogatory no. 5 seeks information which is outside the scope of this
Defendant Officer’s knowledge. Subj ect to and without waiving said obj ections, see
answer to Interrogatory no. 6 and CR files produced in this matter.
6. Describe the reasons for Plaintiff Elaina Turner's arrest on August 2, 2013, and include the
following:
(a) The circumstances that led YOU to believe there was probable cause to arrest
Plaintiff;
(b) Whether Plaintiff Elaina Turner was informed that she was under arrest, and if so,
what was said and by whom;
(c) Whether Plaintiff Elaina Turner made any oral statements prior to being informed he
was under arrest, and if so, what Plaintiffs oral statements were;
(d) Whether Plaintiff Elaina Turner made any physical movements leading to his arrest,
and if so, what were Plaintiffs physical movements;
(e) Whether Plaintiff Elaina Turner said anything in response to the verbal commands

of arrest and the specific actions Plaintiff took immediately after being advised he
was under arrest; and

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(f)

ANSWER:

All details YOU witnessed and observed about the manner of making the arrest of
Plaintiff Elaina Turner.

Plaintiff Turner was arrested for obstruction and resisting arrest; (a) Plaintiff Turner
ignored multiple verbal warnings to stay away from the vehicle, opened the passenger
side door of the vehicle after being instructed not to enter the vehicle, and pulled
away/fled after she was informed that she was under arrest; (b) This Officer
informed Plaintiff Turner that she was under arrest by stating, “you’re under arrest”;
(c) This Officer does not recall any specific statements made by Plaintiff Turner prior
to being informed that she was under arrest; (d) Plaintiff Turner ignored multiple
verbal warnings to stay away from the vehicle and continue to advance toward the
vehicle, opened the passenger side door of the vehicle after being instructed not to
enter the vehicle, and pulled away/fled after she was informed that she was under
arrest; (e) This Officer does not recall whether Plaintiff Turner said anything in
response to the verbal commands of arrest. After being advised she was under arrest,
Plaintiff Turner pulled away from this Officer and fled; (f) This Officer objects to
Interrogatory no. 6(f) to the extent that it calls for a narrative and is better suited for
a deposition. Subject to and without waiving such objections, see this Officer’s
August 17, 2015 statement to IPRA and the transcript of the testimony of this Officer
at Plaintiffs’ criminal trial.

7. Describe the reasons for Plaintiff Ulysses Green arrest and include the following:

(a)
(b)
(C)
(d)

ANSWER:

The circumstances that led YOU to believe there was probable cause to arrest
Plaintiff Ulysses Green;

Any and all persons YOU notified of the probable cause to arrest Plaintiff Ulysses
Green;

Any and all actions YOU observed Ulysses Green commit to warrant probable cause
for his arrest;

All reasons why YOU did not arrest Plaintiff Ulysses Green on August 2, 2013.

Plaintiff Green was arrested for aggravated assault to an officer; (a) Plaintiff Green
took a swing at ths Officer with his hand and fist in an attempt to strike this Officer;
(b) Defendant Officer objects to Interrogatory no. 7(b) to the extent that it seeks
information that is privileged pursuant to the attorney-client privilege and to the
extent that it is not limited in time or scope Subject to and without waiving such
objection, this Officer authored a General Offense Case Report and a Tactical
Response Report and submitted them to his sergeant. Furthermore, at some point
after this Officer was assaulted by Green, he informed his partner, Officer Weber, of
the assault; (c) See answer to Interrogatory no. 7(a) above; (d) Plaintiff Green fled
into his home and this Officer needed to continue placing Plaintiff Turner into
custody. This Officer knew the identity and horne address of Plaintiff Green as of
August 2, 2013 and knew that the arrest could be executed at a later date.

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8. Describe the reasons YOU contend gave YOU legal justification to Taser Plaintiff Elaina
Turner on August 2, 2013. lf YOU allege to have Tased Plaintiff Elaina Turner more than once,
please set forth the justification for each Tase.

ANSWER:

Defendant Officer objects to Interrogatory no. 8 to the extent that it calls for a legal
conclusion. Furthermore, Interrogatory no. 8 seeks a narrative and is better suited for
a deposition. Subj ect to and without waiving such obj ections, this Officer deployed
his taser on Plaintiff Turner the first time as she was resisting arrest by fleeing. This
Officer deployed his taser the second time because the first deployment was not
effective to assist in brining Plaintiff Turner into custody and did not appear to have
made proper contact with Plaintiff Turner’s body. This Officer performed a drive
stun to assist in getting Plaintiff Turner to the ground and into custody.

9. ln regards to YOUR Tasing Plaintiff Elaina Turner on August 2, 2013, please describe the

following:
(a)
(b)
(C)
(d)
(@)

ANSWER:

The amount of times that YOU Tased Elaina Turner;

The areas on the body the YOUR Taser made contact with Elaina Turner;

The positioning of Elaina Turner's body when YOU first Tased Elaina Turner;
Whether YOU dry stuned Elaina Turner on August 2, 2013;

The amount of times YOU dry stuned Elaina Turner on August 2, 2013.

Defendant Officer objects to Interrogatory no. 9 to the extent that it calls for a
narrative and is better suited for a deposition and to the extent that it calls for
speculation. Subject to and without waiving such objections: (a) This Officer
deployed his Taser three times; (b) This Officer performed a drive stun to the back
of Plaintiff Turner’s thigh. This Officer does not know the exact contact points for
the taser probes that made contact with Turner’ s body, but believes that probes made
contact with one of her arms and may have made contact with her torso. (c) When
this Officer deployed his taser for the first time, Plaintiff Turner’s body was at an
angle to this Officer. This Officer could see a portion of the back of Plaintiff
Turner’s body and a portion of the side of her body; (d) This Officer drive stunned
Plaintiff Turner on the back of the thigh; (e) This Officer drive stunned Plaintiff
Turner one time on August 2, 2013.

10. Describe any and all physical contact or forced used by YOU on Plaintiff Elaina Turner
during Plaintiff‘s arrest and detention. This includes, but not limited to, any and all contact YOU
made with Plaintiff Elaina Turner during a search of her person or handcuffing. For each such
contact described, please indicate whether the contact was made outside in public area or inside a
Chicago Police Station.

ANSWER:

See answer to Interrogatory no. 9 above This Officer grabbed PlaintiffTurner by the
arm after informing her she was under arrest. This officer placed handcuffs on
Plaintiff Turner. This Officer may have helped Plaintiff Turner to her feet after
placing her in handcuffs. All physical contact that this Officer had with Plaintiff
Turner Was outside at the scene of her arrest.

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1 1 . Describe any and all physical contact or force PlaintiffElaina Turner committed against YOU
prior to YOUR Tasing her on August 2, 2013 .

ANSWER: Plaintiff Turner pulled away from this Officer when he was attempting to place her
under arrest.

12. Please state any and all force or attempt of force used by Plaintiff Ulysses Green against or
directed at YOU on August 2, 2013. For each such force or attempt of force, please identify the
approximate location that it occurred.

ANSWER: Plaintiff Green took a swing at ths Officer with his hand and fist in an attempt to
strike this Officer. This occurred in the street near Plaintiff Green’s van.

13. Please state the date YOU became authorized by the Chicago Police Department to carry a
Taser.

ANSWER: This Officer does not recall the exact date of such authorization, but believes that it
was within a week prior to the incident complained of in Plaintiff’ s Amended
Complaint. lnvestigation continues

14. lf YOU contend that YOU or other officers acted according to the established policies and
customs of the City of Chicago or the Chicago Police Department at the time of Plaintiffs Tasing,
identify the policies and customs and describe with particularity all facts supporting this contention.

ANSWER: Defendant Officer objects to Interrogatory no. 14 to the extent that it calls for a
narrative and is better suited for a deposition. Furthermore, this Interrogatory seeks
information that is outside the scope of this Officer’s knowledge Subject to and
without waiving such objections, this Officer contends that he acted in accordance
with the training that he received from the Chicago Police Department and all
policies and customs that were applicable at the time lnvestigation continues.

15. Please state any and all actions of Plaintiff Elaina Turner that YOU contend disobeyed
YOUR direct orders or verbal commands on August 2, 2013.

ANSWER: See answer to Interrogatory nos. 6, 8, and 9 above

16. During YOUR career as a Chicago Police Officer please indicate any and all suspensions or
discipline made against YOU by the City of Chicago or the Chicago Police Department For each
such suspension or discipline, please indicate the reason for the suspension or discipline and any and
all rules, regulations, or professional conduct codes that YOU were determined to have violated.

ANSWER: Defendant Officer objects to Interrogatory no. 16 to the extent that it seeks
information that is not relevant nor is it reasonably calculated to lead to the discovery
of admissible evidence Subj ect to and without waiving such obj ections, this Officer
was suspended for 60 days following the shooting incident that took place at his
home

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17. Prior to the date of this incident, have YOU ever been arrested? lf yes, please state the date
of the arrest, the charge, the arresting agency, and outcome of the case

ANSWER: Defendant Officer objects to Interrogatory no. 17 to the extent that it seeks
information that is not relevant nor is it reasonably calculated to lead to the discovery
of admissible evidence Subj ect to and without waiving such objections, this Officer
was arrested for simple battery in 2007. The arresting agency was the Chicago Police
Department. The charges were dismissed.

18. Please state whether YOU took any witness statements of the incident as part of YOUR
investigation of this matter. lf yes, please give the name and a brief summary of the witness
statement

ANSWER: No.

19. Please state the reasons why YOU never included a witness statement or listed Tow Truck
Driver Donald A. Leitmeyer as a witness of the incident giving rise to this complaint in Plaintiff
Elaina Turner's arrest report or the Original lncident Case Report you filed on this matter?

ANSWER: Defendant Officer objects to Interrogatory no. 19 to the extent that it is vague and
assumes facts not in evidence Subj ect to and without waiving such obj ections, this
Officer did not deem it necessary to include a witness statement or list the tow truck
driver as a witness.

20. Please state all communications or contacts between YOU and any Defendant Officer and/or
any other PERSON(s) relating to the subject matter of the complaint This Interrogatory includes,
but is not limited to, all communication YOU had with another law enforcement officer or agency
(i.e. lndependent Police Review Authority); and/or communications between YOU and any
employee of the Cook County State's Attorney Office or City of Chicago Attorney for the
Department of Administrative Hearings. For each such communication please state: (a) the
approximate date and time the communication took place ; (b) where the communication took place;
(c) who was present during the communication; and (d) whether the communication was oral,
written, or other.

ANSWER: Defendant Officer objects to Interrogatory no. 20 to the extent that it is overly-broad,
not limited in time or scope, and seeks information that is privileged pursuant to the
attorney-client privilege Furthermore, Interrogatory no. 20 seeks a narrative and is
better suited for a deposition. Subject to and without waiving such objections, this
Officer spoke with Assistant State’s Attorneys in preparation for Plaintiffs’ criminal
trial on several occasions. This Officer does not recall the dates, time, persons
present, and specific subject matters of these conversations This Officer was

interviewed by and lPRA investigator in the presence of his counsel on August l7,
2015.

21. Please state whether YOU have ever been disciplined by the City of Chicago or the Chicago
Police Department for the incident giving rise to this complaint? lf yes, please state the discipline
administered

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ANSWER:

No.

22. Please state any and all persons by name, including if applicable Defendant Jeffrey Weber,
that claims saw Elaina Turner resist arrest and attempt to run away from YOU prior to YOUR
decision to use YOUR taser against her.

ANSWER:

Defendant Officer objects to Interrogatory no. 22 to the extent that it calls for
speculation and seeks information that is outside the scope of this Officer’s
knowledge Subject to and without waiving such objections, ths Officer, Patrick
Kelly, saw Plaintiff Turner resist arrest and run away. Upon information and belief,
Defendant Officer Weber does not claim to have seen Plaintiff Turner resist arrest
and run away from this Officer. This Officer does not know if anyone else witnessed
these acts.

23. Please state any and all persons by name, including, if applicable, Defendant Jeffrey Weber,
that claims to have witnessed Plaintiff Ulysses Green attempt to punch YOU on August 2, 2013?

ANSWER:

Defendant Officer objects to Interrogatory no. 23 to the extent that it calls for
speculation and seeks information that is outside the scope of this Officer’s
knowledge Subject to and without waiving such objections, ths Officer, Patrick
Kelly, saw Plaintiff Green attempt to punch this Officer. Upon information and
belief, Defendant Officer Weber does not claim to have seen Plaintiff Green attempt
to punch this Officer. This Officer does not know if anyone else witnessed these
acts.

24. Prior to August 2, 2013, please state the circumstances surrounding any and all prior contact
with Plaintiff Ulysses Green and/or Elaina Turner.

ANSWER:

Defendant Officer objects to Interrogatory No. 24 to the extent that it is vague, overly
-broad, and calls for a narrative that is better suited for a deposition. Subject to and
without waiving such objections, this Officer had contact with Plaintiffs two days
prior to August 2, 2013 when he responded to Plaintiffs’ address to assist with a tow.
This Officer had prior contact with Plaintiff Green when he responded to Green’s
address in response to Green’s request for an officer to generate a report pertaining
to a child custody matter. This Officer cannot recall if a report was generated, but
recalls that Plaintiff Green was angry and hostile Investigation continues.

Respectfully submitted,
BORKAN & SCAHILL, LTD.

By: /s/ Krista E. Stalf

Krista E. Stalf (6287032) Krista E. Stalf
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CERTIFICATION

Under penalty of perjury, l certify that the statements set forth in this instrument are true and
correct, except as to matters herein stated to be on information and elief, and as to such matters l
certify that l verily believe the same to be true

 

Patrick Kelly

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